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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

Civi| Action NO. 12-Cv-02858-RM-MJW

GLENN P|CCO,
FRANC|NE P|CCO,

P|aintiffs,
vs.
KELLY R. GLENN, D.O.

Defendant.

 

STIPULATION FOR DISMISSAL OF ALL CLAIMS AGAINST DEFENDANT KELLY
R. GLENN, D.O., WITH PREJUDICE

 

Plaintiffs and Kelly R. G|enn, D.O., by and through their respective counsel, hereby
stipulate to the dismissal, With prejudice, of all claims against Defendant Kelly R. G|enn,
D.O., Without any finding or admission of fault, and request the court to enter an Order
pursuant to Fed.R.Civ.P. 41(a) in the form attached dismissing said claims based upon the

filing of this Stipulation.

   

 

 

0' no
Respectfully submitted this day » , 2015.
Pryor oh Nixon, P.C.
\
s/Pete z
Peter Pry

Rosa Derieux
Attorneys for Defendant Kelly R. G|enn, D.O.

CaSe 1212-CV-02858-R|\/|-|\/|.]W» DOCUment 246 Filed 10/23/15 USDC CO|OI’adO Pag€ 2-01°-2

Thomas Keel & Laird, LLC l -

/\u _____ z

s/ /so homas
lsobel S. Thomas
Attorney for Plaintiffs

LRTlFchT§ oF s§vacE

l hereby certify that on M.Q/K gz&[§ l electronically filed the
foregoing STIPULATION FOR DISMISSAL OF ALL CLAIMS AGAINST DEFENDANT
KELLY R. GLENN, D.O., WITH PREJUDICE With the Clerk of Court using the Cl\/l/ECF
system Which Wil| send notification of such filing to the following e-mail addresses:

lsobel S. Thomas
E-mai|: ithomas@thomaskeel.com

s/ PeterW. Prvor

PeterW. Pryor

Attorney for Defendant Kelly R. G|enn, D.O.
Pryor Johnson Carney Karr Nixon, P.C.
5619 DTC Parkway, Suite 1200
Greenwood Village, CO 80111

Telephone: (303) 773-3500

FAX: (303) 779-0740

E-mai|: ggryor@gickn.com

